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                       U.S. District Court for the Northern District Of Illinois
                                     Attorney Appearance Form


Case Title:       United States of America                            Case Number: 21 CR 316
                  v.
                  Matthew J. Schwartz
An appearance is hereby filed by the undersigned as attorney for:
                                      Matthew J. Schwartz

Attorney name (type or print):         Anne L. Yonover
Firm:        Taft Stettinius & Hollister LLP
Street Address:       111 East Wacker Drive, Suite 2800
City/State/Zip:      Chicago, Illinois 60601
Bar ID Number:         6321766                        Telephone Number:                   (312) 836-4162
Email Address:         ayonover@taftlaw.com

Are you acting as lead counsel in this case?                                        ☐ Yes ☒ No
Are you acting as local counsel in this case?                                       ☐ Yes ☒ No
Are you a member of the court’s trial bar?                                          ☐ Yes ☒ No
If this case reaches trial, will you act as the trial attorney?                     ☒ Yes ☐ No
                                                          ☐               Retained Counsel
If this is a criminal case, check your status:
                                                                          (additional pro bono counsel)
                                                          ☐               Appointed Counsel
                                                                          If appointed counsel, are you
                                                                          ☐        Federal Defender

                                                                          ☐        CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this Court’s general
bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14. I declare
under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C. §1746, this statement under
perjury has the same force and effect as a sworn statement made under oath.

Executed on         June 30, 2021
Attorney Signature:         s/   Anne L. Yonover
                            (Use electronic signature if the appearance form is filed electronically)



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                                                                                               Revised 8/1/2015
